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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF OHIO
                                     WESTERN DIVISION

UNITED STATES OF AMERICA

                Plaintiff                                       Case No. 3:12-CR-21

                -vs-

GEORGE J. DAOUD
                                                                Judge Thomas M. Rose
                Defendant


      ENTRY DENYING DEFENDANT’S MOTION TO WITHDRAW PLEA (DOC. 76)


        This matter comes before the Court pursuant to Defendant’s Motion to Vacate Plea (Doc.
76) filed September 12, 2013, the Government’s response (Doc. 77) filed July 15, 2013 and the
Defendant’s Reply (Doc. 78) filed July 22, 2013.
        The Defendant entered pleas of guilty to Counts 1, 46 and 92 of the Indictment in the above
captioned case on October 16, 2012. Subsequent to said plea on July 10, 2013 Defendant filed a
Motion to Continue the disposition for the purpose of obtaining Brady material from the
Government. In response, the Government asserted that all available documentary
evidence/information was previously provided to both the Court (in camera) and the Defendant.
        The Defendant followed said Motion with his Motion to Vacate (Doc. 76).
        Under Federal Rule of Criminal Procedure 11(d)(2)(B), a defendant may withdraw a guilty
plea before sentencing only if he can show a fair and just reason for requesting the withdrawal.
The basis for this request is that the alleged Brady material, impeaching information in this case,
was not disclosed to him prior to him entering his plea and renders his plea unknowing,
unintelligent and involuntary as he would not have entered such and would have proceeded to trial
upon “now discovered” information.
        The Constitution or case law does not require the Government to disclose impeachment
information prior to entering a plea. United States v. Ruiz, 536 U.S. 622 at 629 (2002). That
information is disclosed before trial and is “more closely related to the fairness of a trial than to the
voluntariness of a plea.” The Court does not have before it any factors that would weigh in favor
of the Defendant’s plea withdrawal. United States v. Bashara, 27 F.3d 1174 (6th Cir. 1994).
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       The Defendant filed this Motion approximately nine (9) months after his plea with no real
reason expressed for said delay. During this delay, the Defendant did not, to the Court’s
knowledge, assert his innocence. Again, the only reason asserted for the withdrawal is the alleged
failure of the Government to disclose Brady material, not before trial, but, before his plea. The
Defendant is not entitled to such.
       Therefore, the Court finding no factors under Criminal Rule of Procedure 11(d)(2)(B) and
United States v. Bashara, 27 F3d 1174 (6th Cir 1994) to justify the Defendant’s Motion to
Withdraw, said Motion is DENIED.
       IT IS SO ORDERED.


November 27, 2013                            *s/THOMAS M. ROSE

                                                         Thomas M. Rose, Judge
                                                      United States District Court
